                                    BEFORE THE
           JUDICIAL PANEL ON MULTIDISTRICT LITIGATION
        -------------------------------------------------------------------------
                      EASTERN DISTRICT OF NEW YORK
                               Donna Hodge, et al . v.
                                Andrew Cuomo, et al.
                           Case No. 2:21-cv-01421-BMG
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                         All American School Bus, et al.
                      Case No. 2:21-cv-001366-LDH-RDR
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       -------------------------------------------------------------------------
                      EASTERN DISTRICT OF NEW YORK

                              Albert E. Percy, et al. v.
                        Oriska Corp General Contracting
                       Case No. 1:20-cv-06131-NGG-CLP
  Nicholas G. Garaufis, presiding Assigned to: Magistrate Judge Peggy Kuo
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                      EASTERN DISTRICT OF NEW YORK

          Bay Park Center for Nursing & Rehabilitation LLC et. al. v.
                                   Philipson et. al.
                        Case No. 2:20-cv-06291-NGG-SJB
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                        Oriska Corporation v. Hodge et al
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                Referred to: Magistrate Judge Roanne L. Mann
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                  Eastern District of New York (Central Islip)

         CIVIL DOCKET FOR CASE #: 2:21-cv-02050-GRB-ARL
Oriska Corporation v. North Sea Associates, LLC-The Hamptons Center et al


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                          Assigned to: Judge Gary R. Brown
                   Referred to: Magistrate Judge Arlene R. Lindsay

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                      Eastern District of New York (Central Islip)

              CIVIL DOCKET FOR CASE #: 2:21-cv-02022-GRB-ARL
             Oriska Corporation v. Park Avenue Operating Co. LLC et. al.
                         Assigned to: Judge Gary R. Brown
                  Referred to: Magistrate Judge Arlene R. Lindsay

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          Oriska Corporation v. Parkview Care & Rehabilitation Center et al
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               CIVIL DOCKET FOR CASE #: 2:21-cv-02025-JMA-ST
          Oriska Corporation v. Pinegrove Manor II, LLC,-Grace Plaza et al
                           Assigned to: Judge Joan M. Azrack
                    Referred to: Magistrate Judge Steven Tiscione
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                CIVIL DOCKET FOR CASE #: 2:21-cv-02010-GRB-ST
                 Oriska Corporation v. Garden Care Center, Inc. et. al.
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                     Referred to: Magistrate Judge Steven Tiscione
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                 CIVIL DOCKET FOR CASE #: 2:21-cv-02029-JS-AKT
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                                               al
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               CIVIL DOCKET FOR CASE #: 1:21-cv-02039-ARR-RML


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                     Eastern District of New York (Central Islip)

              CIVIL DOCKET FOR CASE #: 2:21-cv-02009-JMA-ST
       Oriska Corporation v. Bayview Manor LLC, - South Point Plaza et. al.
                          Assigned to: Judge Joan M. Azrack
                   Referred to: Magistrate Judge Steven Tiscione
          -------------------------------------------------------------------------
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              CIVIL DOCKET FOR CASE #: 1:21-cv-02031-PKC-RLM
Oriska Corporation v. Brookhaven Rehabilitation and Health Care Center, LLC et al
                          Assigned to: Judge Pamela K. Chen
                   Referred to: Magistrate Judge Roanne L. Mann
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               CIVIL DOCKET FOR CASE #: 2:21-cv-02010-GRB-ST
               Oriska Corporation v. Garden Care Center, Inc. et. al.
                        Assigned to: Judge Gary R. Brown
                  Referred to: Magistrate Judge Steven Tiscione

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                      Eastern District of New York (Brooklyn)

             CIVIL DOCKET FOR CASE #: 1:21-cv-02045-MKB-VMS


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  Oriska Corporation v. Golden Gate Rehabilitation and Health Care Center LLC et al
                      Assigned to: Chief Judge Margo K. Brodie
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                        Eastern District of New York (Brooklyn)

               CIVIL DOCKET FOR CASE #: 1:21-cv-02034-FB-RML
               Oriska Corporation v. Little Neck Care Center, LLC et al
                          Assigned to: Judge Frederic Block
                    Referred to: Magistrate Judge Robert M. Levy

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                      Eastern District of New York (Central Islip)

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                Oriska Corporation v. Nassau Operating Co, LLC et al
                         Assigned to: Judge Joan M. Azrack
                   Referred to: Magistrate Judge Steven Tiscione

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                                         Rehab et al
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Albert E. Percy and Percy Jobs and Careers Corporation an IRC 501(c)(3) non-profit, as
                 Class Representatives et al v. Children's Law Ctr, et al
                           Assigned to: Judge Diane Gujarati
                   Referred to: Magistrate Judge Ramon E. Reyes, Jr

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                        Eastern District of New York (Brooklyn)

                CIVIL DOCKET FOR CASE #: 1:21-cv-02182-ENV-RER
Albert E. Percy and Percy Jobs and Careers Corporation an IRC 501(c)(3) non-profit, as
                  Class Representatives v. D & D Metal Work Inc et al


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                           Assigned to: Judge Eric N. Vitaliano
                   Referred to: Magistrate Judge Ramon E. Reyes, Jr
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                        Eastern District of New York (Brooklyn)

                 CIVIL DOCKET FOR CASE #: 1:21-cv-02194-KAM-PK
Albert E. Percy and Percy Jobs and Careers Corporation an IRC 501(c)(3) non-profit, as
                  Class Representatives v. F & E Maintenance Inc et al
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                        Referred to: Magistrate Judge Peggy Kuo


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Albert E. Percy and Percy Jobs and Careers Corporation an IRC 501(c)(3) non-profit, as
                          Class Representatives v. I Grace Co
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                              EDNY Case No. 1:21-cv-02311

Albert E. Percy and Percy Jobs and Careers Corporation an IRC 501(c)(3) non-profit, as
         Class Representatives v. Manhattan Telecommunications Corporation
             Judge Eric N. Vitaliano and Magistrate Judge Robert M. Levy

            -------------------------------------------------------------------------
                              EDNY Case No. 1:21-cv-02283

                      Percy et al v. U & I Mechanical Corporation
         Judge LaShann DeArcy Hall and Magistrate Judge Vera M. Scanlon
           -------------------------------------------------------------------------
                       EDNY Case No. 1:21-cv-02313-WFK-RLM

Albert E. Percy and Percy Jobs and Careers Corporation an IRC 501(c)(3) non-profit, as
                      Class Representatives v. S & E Azrlliant P C
    Assigned to Judge William F. Kuntz, II and Magistrate Judge Roanne L. Mann.

            -------------------------------------------------------------------------
                             EDNY 1:21-cv-02314-ARR-VMS

Albert E. Percy and Percy Jobs and Careers Corporation an IRC 501(c)(3) non-profit, as
                        Class Representatives v. P & H Painting Inc
       Assigned to: Judge Allyne R. Ross and Magistrate Judge Vera M. Scanlon
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            Oriska Corporation v. Bay Park Center for Nursing and Rehabilitation
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                                 Case No. #1:21-cv-00104-MAD-DJS
                   Oriska Corporation v. Highgate LTC Management, LLC et al
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                                       Daniel J. Stewart, referral
                  -------------------------------------------------------------------------
                                 NORTHERN DISTRICT OF NEW YORK

                                 Case No. #1:21-cv-00109-MAD-DJS
                     Oriska Corporation v. Niskayuna Operating Co., LLC et al
                                     Mae A. D'Agostino, presiding
                                       Daniel J. Stewart, referral
                  -------------------------------------------------------------------------
                                 NORTHERN DISTRICT OF NEW YORK

                               Case No. # 1:21-cv-00106-MAD-DJS,
                Oriska Corporation v. Troy Operating Co., LLC (Diamond) et al.
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                                           STATEMENT OF FACTS

          This Motion relates to 33 Cases pending in the Eastern, Southern, and Northern

Districts of New York as set forth on the accompanying Schedule. This Motion is to

consolidate these 33 related Cases into 4 of the 33 Cases pending in the Eastern District

of New York ("EDNY"), Cases 21-cv-01421, 21-cv-01366, and 20-cv-06291 and 20-cv-

06131.




                                                                 7
       This litigation involving 33 class actions identified on this motion before the MDLP

involve common questions of law and fact beginning with the application of an alternative

employment practice as less discriminatory than the employment practices presently

being utilized by the defendants in the actions (the “Alternative Employment Practice”).

The Alternative Employment Practice is applied to all of the employer defendants who

have failed to adopt it after due demonstration and persuasion in accordance with the

requirements of 42 U.S.C. 2000d and 2000e- 2. Out of that failure arise causes of action

under the Employment Retirement Income Security Act (“ERISA”) for benefits to the

Class of employees and federal questions for denial of equal protection of the laws being

litigated under 42 U.S.C. 1983.

       This Motion requests that the 33 Cases be reduced to focus for the pre-trial

proceedings on these 4 Cases:

          EDNY Hodge v Cuomo 21-cv-01421,

          EDNY Percy v Employer and Owners 21-cv-01366,

          EDNY Removal from Nassau County filing in 20-cv-06291-NGG-CLP.

          EDNY Percy v OCGC 20-cv-06131

       The other 29 Cases are subsumed in the 4 Cases. Resolution of the issues raised in

the 4 Cases involve the same parties and the same issues such that the resolution of the 4

Cases will resolve the issues in the other 29 remaining cases. This is qualified only in that

certain cases involve different parties named as defendant class members in related cases

to EDNY Case 20-cv-06131 because the number of members of the Class Defendant were

too numerous for upload into a single Case.

       Personal jurisdiction over all of the defendants will be established by personal

service of the Summons in each Case.


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       Federal subject matter jurisdiction exists in these Cases based on preemption

under the Employee Retirement Income Security Act of 1974, (“ERISA”), 29 U.S.C. § 1001

et seq. (1132(a)). This court has original jurisdiction over ERISA actions and subject

matter jurisdiction to entertain this action under 28 U.S.C. §§ 1331 and 1345, 29 U.S.C. §

1132(e), 29 U.S.C. § 1001 et seq. and “prohibited transaction penalty proceedings” (as

defined in §2570.2(o) under section 502(i) of the ERISA). To the extent that any claim in

the Cases are not preempted, they forms part of the same case or controversy under 28

U.S.C. § 1367(a). Federal question jurisdiction also exists in this case based upon the

Occupational Security Occupational Safety and Health Act of 1970 (“OSHA”), 29 U.S.C. §

651 et seq. Federal question jurisdiction also exists in this case based upon the Civil Rights

Act of 1964 as amended in 1991, 42 U.S.C. § 2000 E-2 et seq.

       Venue in the Eastern District is proper under 28 U.S.C. §1391 because a substantial

part of the events giving rise to the claims made herein occurred in and about the Eastern

District of New York and place of work of the majority of members of the employee Class

rule as well reside in the Eastern District of New York.

       Once application of the Alternative Employment Practice is established and proven

regarding all of the employer defendants warranting a mandatory order from the Court

on the adoption of the Alternative Employment Practice, the Cases then separate into two

categories:

Category 1:
      EDNY Hodge v Cuomo 21-cv-01421
      EDNY Percy v Employer and Owners 21-cv-01366
      EDNY Removal filing in 20-cv-06291-NGG-CLP Nassau
      EDNY NorthSea 21-cv-02050
      EDNY Shore 21-cv-01999
      EDNY Park Ave 21-cv-02022


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      EDNY Parkview 21-cv-02024
      EDNY Pingrove 21-cv-02025
      EDNY Garden 21-cv-02010
      EDNY Townhouse 21-cv-02029
      EDNY West Law 21-cv-02039
      EDNY Willough 21-cv-02006
      EDNY Woodmere 21-cv-02030
      EDNY Avalon 2-21-cv-02040
      EDNY Bayview 21-cv-02009
      EDNY Brook 21-cv-02031
      EDNY Golden 21-cv-02045
      EDNY Little 21-cv-02034
      EDNY Nassau 21-cv-02021
      EDNY New Surf 21-cv-02035
      SDNY Removal filing in 21-cv-00762
      NDNY Removal filing 21-cv-00104 Highgate filing
      NDNY Removal filing in 21-cv-00109 Niskayuna filing
      NDNY Removal filing in 21-cv-00106 Troy filing
Category 2:
      EDNY Percy v OCGC 20-cv-06131
      EDNY 1-21-cv-02175-DG-RER
      EDNY 1-21-cv-02182-RPK-RER
      EDNY 1-21-cv-02194-KAM-PK
      EDNY 1-21-cv-02198-RPK-JRC
      EDNY 1-21-cv-02311-ENV-RML
      EDNY 1-21-cv-02283-LDH-VMS
      EDNY 1-21-cv-02313-WFK-RLM
      EDNY 1-21-cv-02314-ARR-VMS


      Category 1 Cases will proceed on evidence that certain Employer Defendants have

accrued and expensed the costs of employee benefits but have failed to provide the

benefits to their employees, a class of employees suing to recover the benefit funds to

trust, and seeking consequential damages resulting from injuries and illnesses casually

related to failure of benefits under ERISA. In this category 24 Cases can be consolidated


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into 3 cases most recently filed in the EDNY federal court, Cases 21-cv-01421, 21-cv-

01366, and 20-cv-06291 subsuming the other Cases in Category 1. These cases all involve

using the Alternative Employment Practice as a ruse to divert the funds accrued for

benefits, funds that were diverted, converted and embezzled away from their ERISA trust

and purposes. The 3 cases EDNY 21-cv-01421, 21-cv-01366, and 20-cv-06291 will be tried

in relation to each Employer Defendant, Owner Operator Defendant, Person-in-Interest

Defendant, and State Officer Defendant, to determine compensatory damages arising out

of breach of ERISA obligations and mandates. In Category 1 the list of employer defendant

and owner operator defendants can be reduced by mediation or with a master or judicial

hearing Officer eliminating defendants who have no personal culpability to the funds

diverted away from trust, dismissing and leaving only defendants who are liable to the

Employee Class. The Employee Class is identifiable by payroll records of each Employer

Defendant.

      Category 2 Cases will proceed on evidence of the failure of these identified

Employer Defendants to adopt the Alternative Employment Practice after due

demonstration and persuasion. Category 2 Cases will prove the failure of the Employer

Defendants to adopt the Alternative Employment Practice as less discriminatory

employment practice, statistically showing that the identified Class of employer

defendants' current employment practices are an illegal employment practice, proven by

statistical evidence that the these employer defendants' current employment practices

discriminate against persons based upon race, gender, national origin, or disability,

warranting mandated adoption of the Alternative Employment Practice by these

employer defendants, fulfilling the requirements of Presidential Executive Order 11246,

and other federal budgetary enactments requiring equal employment opportunity


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("EEO") and affirmative action with regard to the use of federal funds. Again, these cases

begin with establishing the viability of the Alternative Employment Practice under 42

U.S.C. 2000 e--2. Then each Employer Defendant's individual circumstances would

benefit by mediation by an appointed Master or Judicial Hearing Officer. Category 2

mediation by an appointed Master or Judicial Hearing Officer will cover 8,770 Class

defendant employers where the employer defendants will be grouped by industry.

Category 2 will start grouping by Standard Industrial Code ("SIC"), and further group by

whether the employer defendants receive federal funding, and further group by whether

employer defendants' current employment practices have a disparate impact based on

race, color, creed, or national origin, when compared to the Alternative Employment

Practice.

       In summary, the consolidation of the Cases into these 2 categories for pretrial

proceedings:

       Category 1 consolidates 24 cases into 3 Cases.

       Category 2 consolidates 9 cases into 1 Case.

       It is respectfully requested that the cases on the attached Schedule be treated as

related.

                              LEGAL CONTENTIONS
       The employee Class has sued for benefits that are the subject of this litigation,

including, among other benefits as enumerated in 29 U.S.C. §1003 of ERISA, training and

apprenticeship to acquire skills as a right and a fact of equal employment opportunity.

The benefits were denied the employee Class under a plan (“Plan”) sponsored and funded

by Employer Defendants under a program (the “Program”) approved for the Carrier

Defendant Oriska Insurance Company as the Carrier’s 1994 Program of 24 hour


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protection for employees, established under 29 U.S.C. §1003 of ERISA as an “employee

benefit plan”. The funding never reached the Plan Trust.

       The Plan was sponsored by identified Employer Defendants, as a welfare plan. The

Employer Defendants’ failure to provide benefits is the direct and proximate cause of the

tragedy occurring in the Employer Defendants nursing home and healthcare facilities

resulting from the failure of preparation in readiness to handle an enemy such as a

pandemic, and is the direct proximate cause of the damage to the Class of employees, to

patients in facilities, as well as exposing the general public; all traceable to the foreseeable

liability caused by the diversion, conversion and embezzlement of Plan assets.

       A motion was made by the plaintiff in intervention to intervene in an action

pending in Nassau County Supreme Court Index 609877/2019 was granted by Order

attached hereto as Exhibit “1”. This Action was removed to EDNY Federal District Court

Case 20-cv-06291-NGG-CLP, one of the 4 cases that will lead this consolidation. The

employee Class seeks recovery pursuant to 28 U.S.C. §1441 as actions over which the

Federal Court has jurisdiction under28 U.S.C §1331. These cases raise a federal questions

in that the Plaintiff in Intervention raises claims that are “completely preemted” by the

Employee Retirement Income Security Act (“ERISA”), 29 U.S.C. § 1001 et seq.

       Moreover, recovery is sought under 42 U.S.C. 1981 and 1985 for acts of the

Employer Defendants, the Owner Operator Defendants and the Prohibited Transaction

Defendants, in concert with New York State Officer Defendants under color of law in

violation of 42 U.S.C. 1983. The 42 U.S.C. 1983 causes of action involve denial of equal

protection and due process of law under the 1st, 5th and 14th Amendments to the United

States Constitution for denial of equal protection and due process of laws, and for denial




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of right of assembly, as well as violation of 42 U.S.C. 2000e-2 for refusal of the Employer

Defendants to adopt and implement the Program as an Alternative Employment Practice.

       Further, there is a related class action 20-cv-06131 pending in the Eastern District

of New York regarding unlawful employment practice for failure to adopt a less

discriminatory alternative method of employment practice (“Alternative Employment

Practice”).

       The cases demonstrate an alternative employment practice, under subparagraph

(C) referred to by subparagraph (A)(ii) of 42 U.S.C. § 2000e-2(k)(1). The denial of the

Alternative Employment Practice by the Employer Defendants injures disadvantaged

persons prompting an action under 42 U.S.C. 2000 e-2. The Employer Defendants are

liable for illegal employment practices having failed to adopt the Alternative Employment

Practice.

       The State of New York is implicated in all of these cases, including the cases to be

added to this Application by supplement, by the failure of Executive Order 45 ) 9 NYCRR

3.45), and complicity in the wrongful acts of the Employer Defendants, the Owner

Operator Defendants, and the Prohibited Transaction Defendants, as a causes of action

in favor of the Class for damages for violation of 42 U.S.C. 2000 e-2, 42 U.S.C. 1981, 1983,

and 1985, under the 1st, 5th and 14th Amendments to the United States Constitution, for

denial of equal protection and due process of laws, and for denial of right of assembly as

recited in the Removed Action.

       The violation of ERISA by failing to provide benefits, the failure to adopt the

Alternative Employment Practice, the diversion, conversion and embezzlement of ERISA

plan assets by prohibited transactions, is the direct and proximate cause of the tragedy

that occurred and is occurring in the Employer Defendants’ nursing home and Health


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Care facilities resulting from the failure of preparation in readiness to handle an enemy

such as a pandemic. The proximate cause of the damage to the Class as well as to patients

and the general public can be traced to the foreseeable liability caused by the diversion,

conversion and embezzlement of Plan assets.

       Transfer of the cases identified in this Application to one forum is essential so that

they may be coordinated or consolidated for pretrial proceedings. This is necessary to

eliminate duplicative discovery, prevent inconsistent pretrial rulings, and conserve the

resources of the parties, their counsel, and the judges in the federal judicial districts in

which the Related Actions have been filed. Coordination is appropriate both to maximize

convenience and efficiency in discovery based on the common factual allegations, and

also to avoid inconsistent rulings. Thus, transfer and coordination or consolidation will

further the convenience of the parties and witnesses and promote efficiency and judicial

economy.

       The most appropriate forum for transfer and coordination or consolidation is the

Eastern District of New York. Supporting transfer and coordination or consolidation in

the Eastern District of New York are the following factors: (1) A large portion of the Class

is in Queens, Kings and Nassau Counties and that the Class has been subjected to acts

that have transpired in the Eastern District of New York, making it likely that evidence

and witnesses relevant to the related actions will be located within the Eastern District of

New York; (2) the Court in the Eastern District of New York has the requisite experience

and is well-equipped to preside over this multidistrict litigation.

       Central to the Panel’s consideration of transfer are the goals of eliminating

duplicative discovery, avoiding conflicting rulings and schedules, and minimizing

burdens on the parties, witnesses, and courts. See Manual for Complex Litigation


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(Fourth) § 20.131 (2004); In re “East of the Rockies” Concrete Pipe Antitrust Cases, 302

F. Supp. 244, 255-56 (J.P.M.L. 1969).

      The Related Actions meet §1407’s Standards for Coordination and Consolidation

of Pretrial Proceedings.

      The Multidistrict Litigation statute allows for coordination and consolidation of

civil actions in difference federal district courts where they involve common questions of

fact, where consolidation is convenient for the parties and witnesses, and when it will

promote the just and efficient conduct of the consolidated actions. 28 U.S.C. § 1407(a).

The cases currently pending should transferred for coordination and consolidation of

pretrial proceedings. The Eastern District of New York is the most appropriate forum for

such transfer.

      Accordingly, the Related Actions should be coordinated or consolidated in the

Eastern District of New York pursuant to 28 U.S.C. §1407, meeting the standards for

consolidation under 28 U.S.C. §1407(a), with all cases having common questions of fact.

28 U.S.C. § 1407(a).. The Related Actions focus on the same alleged misconduct by

Defendants. Common questions of fact of substantially overlapping factual allegations

and legal issues merit transfer and coordination or consolidation.

                                    CONCLUSION
      The employee Class Defendant respectfully requests that completion of the pre-

trial proceedings be in the Eastern District as the most appropriate forum addressing Cases

21-cv-01421, 21-cv-01366, and 20-cv-06291 as the lead cases, together with such other and

additional relief as to the Court may seem just and proper.

      Respectfully submitted this 6th day of May, 2021.

                                         James M. Kernan, Esq.


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EXHIBIT 1
FILED: NASSAU COUNTY CLERK 10/07/2020 12:22 PM         INDEX NO. 609877/2019
NYSCEF DOC. NO. 56                               RECEIVED NYSCEF: 09/30/2020




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